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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK


SIETEL SINGH GILL, individually and on behalf
of other similarly situated individuals,

                                            Plaintiffs,       Case No. 1:21-cv-01032-PAE

                              v.

NATIONAL FOOTBALL LEAGUE, and NFL
ENTERPRISES LLC,
                        Defendants.


                          RULE 56.1 STATEMENT OF MATERIAL FACTS

            In accordance with Federal Rule of Civil Procedure 56 and Local Civil Rule 56.1,

Defendants NATIONAL FOOTBALL LEAGUE (the “NFL”), and NFL ENTERPRISES LLC

(“NFLE”) (collectively, “Defendants”), by and through their respective attorneys, respectfully

submit the following statement of material facts as to which there is no genuine dispute.

The Parties

            1.      Plaintiff Sietel Singh Gill is and was at all relevant times a resident and citizen of

New South Wales, Australia. [Joint Stipulation of Undisputed Facts (“Joint Stip.”)1, ¶ 1].

            2.      Defendant NFL is an unincorporated association founded in 1920, the members of

which are 32 professional football clubs. The NFL maintains a principal place of business at 345

Park Avenue, New York, NY 10154. [Joint Stip., ¶ 2].

            3.      Defendant NFLE is a limited liability company organized under the laws of the

State of Delaware and maintains a principal place of business at 345 Park Avenue, New York, NY

10154. [Joint Stip., ¶ 3].



1
    See Doc. No. 70.

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NFL Game Pass International Subscription

            4.      NFL Game Pass International2 is a digital platform through which subscribers in

various markets outside the United States can access and view NFL-related content, including on-

demand and live stream access to games throughout the NFL season. See Joint Stip., Ex. D, Doc.

No. 70-4, 2013 Subscription Product Terms and Conditions; see also Ex. F, Max Boigon

Deposition, p. 11.

            5.      Subscribers can subscribe to several different NFL Game Pass International

packages, which may affect the availability of some services, such as access to the playoffs and

Super Bowl. [Joint Stip., Ex. D, Doc. No. 70-4].

            6.      Each subscription is for a one-year term, which provides subscribers access to the

NFL Game Pass International service for the NFL season that falls within the subscription term.

See Joint Stip., Ex. D, H, J, Q, Doc. Nos. 70-4, 70-8, 70-10, 70-17; see also Ex. C,3 2014 Terms

and Conditions; Ex. D, 2015 Terms and Conditions; and Ex. E, 2018 Terms and Conditions; see

also Declaration of Max Boigon (“Boigon Dec.”), ¶¶ 9-11.

            7.      Each season’s subscription to the NFL Game Pass International service is subject

to Terms and Conditions made available to subscribers. See Joint Stip., Exs. D, H, J, Q, Doc. Nos.




2
  The name of Plaintiff’s package from 2013-2016 was “Game Pass Season Plus.” The name then changed to “Game
Pass Season Plus Pass” starting with the 2017 NFL Season while the right to “manage, operate, offer, and sell Game
Pass” was licensed to Perform Media Channels Ltd. See infra ¶ 13. Subsequently, when the license was granted to
OverTier Operations for the 2019 NFL Season, the name was changed to “Game Pass Season Pro.” See Boigon
Dec., ¶ 4. Hereinafter, when the products are discussed in general or collectively, they will be referred to as “NFL
Game Pass International.” The particular names for each given season will be used when discussing Plaintiff’s
particular subscriptions for those seasons.
3
  References to “Ex. __” are to the exhibits to the accompanying Declaration of Thomas A. Leghorn.

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70-4, 70-8, 70-10, 70-17; see also Ex. C, 2014 Terms and Conditions; Ex. D, 2015 Terms and

Conditions; and Ex. E, 2018 Terms and Conditions.

NFL Game Pass International Contracts

            8.      During the 2013 NFL Season, the NFL Game Pass International service was

provided by NFLE, through a third-party vendor/operator called NeuLion. [Joint Stip, ¶¶ 6-7].

            9.      NFLE, through its operator NeuLion, provided NFL Game Pass International each

season until the 2017 NFL Season. [Joint Stip., ¶ 8].

            10.     Individual terms and conditions were issued for these seasons which indicated that

NeuLion was operating NFL Game Pass International. See, e.g., Joint Stip., Ex. D, Doc. No. 70-4

(“We have contracted with a third party (currently NeuLion, Inc.) to operate the above listed

subscription product, on our behalf.”).

            11.     Between the 2016 and 2017 NFL Seasons, responsibility for NFL Game Pass

International subscriptions shifted from NFLE and NeuLion to licensees of NFL International LLC

(“NFLI”), an affiliate of NFLE. See Ex. F., Max Boigon Deposition, p. 12.

            12.     Starting with the 2017 NFL Season, NFL Game Pass International began being

offered to the Australian Market by a third-party licensee of NFLI called Perform Media Channels

Ltd. (“Perform”). [Joint Stip. Ex. A, Doc. No. 70-1, April 10, 2017 Product Development and

Media Rights Agreement].

            13.     On April 10, 2017, NFLI and Perform entered into a license agreement by which

“NFLI grants to Perform the non-transferable right and license and Perform accepts the

obligations, during the GP Term and throughout the GP Territory to manage, operate, offer and

sell Game Pass as a standalone subscription offering and distribute GP Content solely within Game

Pass running on Approved Devices.” [Joint Stip. Ex. A, Doc. No. 70-1, p. 10].



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            14.     Australia was within the GP Territory within which Perform was licensed to

manage, operate, offer and sell Game Pass International as of April 10, 2017. [Joint Stip., Ex. A,

Doc. No. 70-1, p. 6].

            15.     On June 18, 2018, NFLI and OverTier Operations entered into a license agreement

by which “NFLI grant[ed] to [OverTier Operations] the non-transferable right and license, and

[OverTier Operations] accept[ed] the obligation, during the Term and throughout the territory to

offer, market and sell Game Pass as a standalone subscription offering and distribute GP Content

solely within Game Pass running on Approved Devices.” The license encompassed international

territories, including throughout Europe, but did not include Australia at the time. [Joint Stip., Ex.

B, Doc. No. 70-2, p. 6, Exhibit A].

            16.     On April 1, 2019, NFL International Licensing Inc. (“NFLILI”), an affiliate of

NFLI that took over the role of licensing NFL Game Pass International, entered into an amended

license agreement with OverTier Operations (the “2019 Amended Agreement”), which stated in

part “[OverTier Operations] hereby confirms and agrees that it provided its consent for NFL

International LLC to transfer and assign all of its rights and obligations under the Agreement to

NFLILI, effective as of January 1, 2019. For the avoidance of doubt, all references to NFLI in the

Agreement will be read and construed as references to NFLILI.” [Joint Stip., Ex. C, Doc. No. 70-

3, p. 1].

            17.     The 2019 Amended Agreement expanded OverTier Operation’s territory over the

NFL Game Pass International service to include Australia for the 2019 NFL Season. [Joint Stip.,

Ex. C, Doc. No. 70-3, Exhibit A].

            18.     Accordingly, starting with the 2019 NFL Season, OverTier Operations was, and to

the present remains, the exclusive licensee of NFLILI authorized to manage, operate, offer and sell



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the NFL Game Pass International subscription service in Australia. See Joint Stip., Ex. C, Doc.

No. 70-3.

Gill’s Subscription to NFL Game Pass International

            The 2013 NFL Season

            19.     The Terms and Conditions applicable to the NFL Game Pass International

subscription service for the 2013 NFL Season (the “2013 Terms and Conditions”) went into effect

on June 8, 2012 and were updated on July 29, 2013. [Joint Stip., Ex. D, Doc. No. 70-4].

            20.     The 2013 Terms and Conditions stated, in part, “For Subscription Products billed

on an annual basis (e.g., NFL Game Pass – Season Plus Subscription, NFL Game Rewind – Season

Plus Subscription) the term begins when you purchase and ends before the start of the following

year’s NFL Preseason (approximately July 31), with one-time billing immediately following your

purchase.” [Joint Stip., Ex. D, Doc. No. 70-4].

            21.     The 2013 Terms and Conditions stated, in part, “We have contracted with a third

party (currently, NeuLion, Inc.) to operate the above listed Subscription Product, on our behalf.”

[Joint Stip., Ex. D, Doc. No. 70-4].

            22.     On or around September 10, 2013, Gill purchased the Game Pass Season Plus

package for the 2013 NFL Season. This was Gill’s first time subscribing to NFL Game Pass

International. Joint Stip., Ex. E, Doc. No. 70-5; Ex. G, Sietel Singh Gill Deposition, pp. 6-7.

            23.     Gill’s subscription for the 2013 NFL Season was governed by the 2013 Terms and

Conditions, to which he agreed. See Joint Stip., ¶ 15; Joint Stip., Ex. D., Doc. No. 70-4.

            24.     The September 10, 2013 email from nflgamepass@neulion.com informed Gill that

his 2013 Game Pass Season Plus subscription “will end at 11:59 pm GMT on 31 Jul 2014.” [Joint

Stip., Ex. E, Doc. No. 70-5].



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            25.     Gill’s subscription for the 2013 NFL Season was for a one-year term that expired

on July 31, 2014, prior to the start of the 2014 NFL Season. [Joint Stip., Exs. D, E, Doc. Nos. 70-

4, 70-5].

            26.     During his deposition, Max Boigon of NFL International Licensing Inc. testified

that the Terms and Conditions for Game Pass would not be renewed:

            Q: Let me restate that. What does a person need to do in order to have this allegedly one
            year or seasonal agreement renew for another season?
            A: It can – this – the terms of service cannot be renewed for another season. They are only
            for a single season.

            Ex. F, Max Boigon Deposition, p. 63.

            27.     Boigon clarified that “payment will renew but the terms of service will not. The

terms of service are a single year, seasonal – annual.” Ex. F, pp. 60-61.

            The 2014, 2015, and 2016 NFL Seasons

            28.     Gill elected to auto-renew his Game Pass Season Plus subscription for each of the

2014, 2015 and 2016 seasons and, thereby, entered into three separate and distinct one-year

subscriptions for Game Pass Season Plus for each of those respective NFL seasons. See Ex. G,

Sietel Singh Gill’s Deposition, p. 24; Ex. F, Max Boigon Deposition, pp. 63-64; see also Ex. C,

2014 Terms and Conditions; Ex. D, 2015 Terms and Conditions; Joint Stip., Ex. F, Doc. No. 70-

6, Gill Credit Card Statement.

            29.     Data relating to Gill’s subscriptions, referred to within the Declaration of Max

Boigon, reflects that his subscription for the 2014 NFL Season ran from August 1, 2014 to August

1, 2015, that his subscription for the 2015 NFL Season ran from August 7, 2015 to August 1, 2016,

and that his subscription for the 2016 NFL Season ran from August 5, 2016 to August 1, 2017.

Boigon Dec., ¶¶ 9-11 and Exhibit A, Subscription Order Tab, Columns U, AH and Al.

            The 2017 NFL Season

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            30.     Gill did not auto-renew his subscription to Game Pass Season Plus Pass for the

2017 NFL Season. See Boignon Dec., ¶ 12.

            31.     Rather, Gill manually registered on September 10, 2017 for a seven-day free trial

period of Game Pass Season Plus Pass. See Boigon Dec., ¶¶ 12-13. Following the completion of

that trial period, his credit card was charged for the 2017 Game Pass Season Plus Pass subscription

on September 17, 2017. See Boigon Dec., ¶¶ 12-13.

            32.     Gill’s subscription for the 2017 NFL Season was governed by the Terms and

Conditions applicable to the 2017 NFL Season (the “2017 Terms and Conditions”). [Joint Stip.,

Ex. H, Doc. No. 70-8]; see also Ex. F, Max Boigon Deposition, p. 63.

            33.     The 2017 Terms and Conditions state in part, “These Subscription Terms and

Conditions are between you and NFL International LLC.” [Joint Stip., Ex. H, Doc. No. 70-8].

            34.     Gill’s subscription to Game Pass Season Plus Pass for the 2017 NFL Season was,

like his prior subscriptions, for a one-year term for that particular season. See [Joint Stip., Ex. H,

Doc. No. 70-8]. The records referred to in the Boigon Declaration show that Gill purchased a

subscription for the 2017 NFL Season running from September 10, 2017 through August 1, 2018.

See Boigon Dec., Exhibit A, Subscription Order Tab, Columns U, AH and AL.

            The 2018 NFL Season

            35.     Gill also did not auto-renew his subscription to Game Pass Season Plus Pass for the

2018 NFL Season. See Boignon Dec., ¶ 14.

            36.     Rather, Gill manually paid for Game Pass Season Plus Pass for the 2018 NFL

Season with a credit card on August 1, 2018. See Boignon Dec., ¶ 15.

            Gill’s subscription for the 2018 NFL Season was, like each of his prior subscriptions, for

a one-year term. See Ex. E, 2018 Terms and Conditions (“For versions of the Product which are



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billed on a seasonal or annual basis (e.g., NFL Game Pass (International) - Season Plus

Subscription) (‘Season Plus’), the term begins when you purchase a subscription to the Product

and ends before the start of the following year's NFL Preseason (approximately July 31).”). The

records of Gill’s subscriptions show that that Gill purchased a subscription for the 2018 NFL

Season running from August 1, 2018 through August 1, 2019. See Boigon Dec., Exhibit A,

Subscription Order Tab, Columns U, AH and Al.

            37.     Gill’s subscription for the 2018 NFL Season was “between [Gill] and NFL

International LLC.” Ex. E.

            38.     On November 4, 2018, Gill submitted a web form ticket reporting a technical issue

he had with his Game Pass Season Plus Pass service. Within his report, Gill stated he had “a paid

membership till mid-2019 with NFL Gamepass.” [Joint Stip., ¶ 24].

            The 2019 NFL Season

            39.     On June 19, 2019, Gill received an email from OverTier Operations regarding the

changes to the NFL Game Pass International subscription service for the upcoming 2019 NFL

Season. [Joint Stip., Ex. I, Doc. No. 70-9].

            40.     The June 19, 2019, email stated in part, “This offseason we’re updating our service

provider as part of our commitment to providing a premium NFL experience to our fans around

the world.” The email continued, stating “Please note on July 25, 2019 your existing app(s) will

no longer be in operation so please update before then.” The email contained a footer which stated

in part, “For further details on NFL Game Pass International Terms and Conditions, including

billing, please click here.” Underneath the link to the Terms and Conditions was OverTier

Operations’ name and P.O. Box information. [Joint Stip., Ex. I, Doc. No. 70-9].

            41.     A screen shot of the new NFL Game Pass International app references “deltatre”:



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                    Ex. H, DEF0001393.

            42.     The Terms and Conditions that were hyperlinked in the June 19, 2019 email were

for subscriptions to the then upcoming 2019 NFL Season and stated, in part, “Who we are. Overtier

Operations who is the official licensee of the content material and Deltatre S.p.A. who operates

the platform and deals with customer queries. As a customer you are contracted with both entities.”

[Joint Stip., Ex. J, Doc. No. 70-10, p. 1].

            43.     These 2019 Terms and Conditions additionally set forth that, “The governing law

and the competent jurisdiction are the one of the country where the consumer has his habitual

residence.” [Joint Stip., Ex. J, Doc. No. 70-10, p. 8].

            44.     Moreover, the 2019 Terms and Conditions set forth that “[f]or any subscription

product bought online you have a legal right to change your mind within 14 days and receive a

refund.” [Joint Stip., Ex. J, Doc. No. 70-10, p. 4; see also Ex. Q, Doc. No. 70-17, p. 4].

            45.     These Terms and Conditions also set forth that OverTier’s and Deltatre’s

“maximum aggregate liability for all proven losses, damages and claims arising out of or in

connection with these terms or a supply under these terms, including liability for breach, in




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negligence or in tort or for any other common law or statutory action, is limited to the sum of

$100.” [Joint Stip., Ex. J, Doc. No. 70-10, p. 7].

            46.      Plaintiff testified that he has not undertaken any search for Terms and Conditions

applicable to the 2019 NFL Season other than the 2019 Terms and Conditions referenced above.

See Ex. G, Sietel Singh Gill Deposition, pp. 56-58:

            Q: Do you have any document that embodies a contract between you and either the NFL
            or NFL Enterprises for the provision of Game Pass to you in Australia?
            A: I do not know.
            …

            Q: Have you looked for one? Have you undertaken a search for any such document?

            …

            A: [D]o I have a document that says that I was clearly in a direct contract for the provision
            of Game Pass with NFL Enterprises? I've not looked for that.

            47.      The email account associated with Gill opened the June 19, 2019 email twice on

the day it was received, at 11:45 A.M. and 12:29 P.M., as described by Richard Johnston, Chief

Finance Officer of OverTier Operations. Johnston Aff., ¶ 18.

            48.      On July 1, 2019, Gill received another email from OverTier Operations. [Joint Stip.,

Ex. K, Doc. No. 70-11].

            49.      The July 1, 2019 email stated in part, “As a reminder from our previous email,

we’re updating our service provider as part of our commitment to providing a premium NFL

experience to our fans around the world.” The email continued, stating in part, “we wanted to let

you know that your NFL Game Pass subscription is set to auto-renew in 31 days. Your subscription

fee will be billed on or around August 1, 2019 at the same 2018 Season Plus full price in your

market, 274.99 AUD.” The email continued on, stating in part, “Click here to update your payment

preferences/details. However, if you wish to cancel your subscription, you can manage your



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preferences here.” The email also contained a footer which stated in part, “For further details on

NFL Game Pass International Terms and Conditions, including billing, please click here.”

Following the link to the Terms and Conditions was OverTier Operations’ name and P.O. Box

information. [Joint Stip., Ex. K, Doc. No. 70-11].

            50.      The Terms and Conditions that were hyperlinked in the July 1, 2019 email for the

upcoming 2019 NFL Season were the same Terms and Conditions hyperlinked to the June 19,

2019 email. [Joint Stip., Ex. J, Doc. No. 70-10].

            51.      The email account associated with Gill opened the July 1, 2019 email at 2:42 P.M.

on the day it was received. Johnston Aff., ¶ 19.

            52.      On July 16, 2019, Gill received another email from OverTier Operations. [Joint

Stip., Ex. L, Doc No. 70-12].

            53.      The July 16, 2019 email stated in part, “With the NFL preseason kicking off in less

than 3 weeks time, we wanted to remind you that you will need to update your app(s) in order to

watch the action this season. As previously shared, you will have until July 25, 2019 to update

your existing NFL Game Pass app(s).” The bottom of the email stated in part, “For further details

on NFL Game Pass International Terms and Conditions, including billing, please click here.”

Following the link to the Terms and Conditions was OverTier Operations’ name and P.O. Box

information. [Joint Stip., Ex. L, Doc No. 70-12].

            54.      The Terms and Conditions that were hyperlinked in the July 16, 2019 email for the

upcoming 2019 NFL Season were the same Terms and Conditions hyperlinked to the June 19,

2019 email. [Joint Stip., Ex. J, Doc. No. 70-10].




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            55.      The email account associated with Gill opened the July 16, 2019 email first at 11:46

A.M. on the day it was received and then again at 12:02 A.M. on the following day, July 17, 2019.

Johnston Aff., ¶ 20.

            56.      The billing system used by OverTier reflected, for Gill, “New Subscription

Created” on 06/05/2019 and “Renewal,” on 08/02/2019. [Joint Stip., ¶ 33; Joint Stip., Ex. N, Doc.

No. 70-14].

            57.      On August 2, 2019, Gill received an automatically generated email stating, “your

NFL Game Pass subscription has been processed on 08/02/2019…Sincerely, NFL Game Pass.”

[Joint Stip., Ex. M, Doc. No. 70-13].

            58.      On August 28, 2019, Gill received an email from OverTier Operations. [Joint Stip.,

Ex. O, Doc. No. 70-15].

            59.      The August 28, 2019 email stated in part, “Your Season Pro subscription will run

until 1st August 2020 where you will have access to the entire NFL season at your fingertips.” The

email continued, stating, “For further details on NFL Game Pass International Terms and

Conditions, including billing, please click here.” Following the link to the Terms and Conditions

was a hyperlink with the text “Want to unsubscribe or change your details?” After that, the email

included OverTier Operations’ name and P.O. Box information. [Joint Stip., Ex. O, Doc. No. 70-

15].

            60.      The email account associated with Gill opened the August 28, 2019 email at 10:54

P.M. on the day it was received. Johnston Aff., ¶ 22.

            61.      On October 29, 2019, Gill received an email from OverTier Operations. [Joint Stip.,

Ex. P, Doc., No. 70-16].




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            62.      The October 29, 2019 email began with the heading “Updates to Terms and

Conditions” followed by a message stating in part, “We are writing to let you know about updates

we are making to our Terms and Conditions. These updates apply to all existing NFL Game Pass

Australian subscribers only and take effect on October 29, 2019. We invite you to please review

the new Terms and Conditions in full here.” The email continued, stating “If you continue to use

our products and services on or after October 29, 2019, you are agreeing to the updated Terms and

Conditions.” The bottom of the email stated in part, “For further details on NFL Game Pass

International Terms and Conditions, including billing, please click here.” Following the link to the

Terms and Conditions was OverTier Operations’ name and P.O. Box information. [Joint Stip., Ex.

P, Doc., No. 70-16].

            63.      The updated 2019 Terms and Conditions that were hyperlinked to the October 29,

2019 email included changes to Clause 14 to ensure compliance with certain Australian marketing

laws. [Joint Stip., Ex. Q, Doc. No. 70-17, p. 8].

            64.      Clause 2.1 of the updated 2019 Terms and Conditions remained the same as the

earlier 2019 Terms and Conditions, stating “Who we are. Overtier Operations who is the official

licensee of the content material and Deltatre S.p.A. who operates the platform and deals with

customer queries. As a customer you are contracted with both entities.” [Joint Stip., Ex. Q, Doc.

No. 70-17, p. 1].

            65.      The email account associated with Gill opened the October 29, 2019 email at 11:06

A.M. on the day it was received. Johnston Aff., ¶ 23.

            66.      Gill testified at his deposition that he did not recall accessing a hyperlink in 2019

to review any new terms and conditions for Game Pass. Ex. G, Sietel Singh Gill Deposition, p. 53.




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            67.      However, the email account associated with Gill opened each and every one of the

above-described emails, sometimes more than once, as described by Richard Johnston, Chief

Finance Officer of OverTier Operations. See Johnston Aff. ¶¶ 18-20, 22-23.

            68.      The Super Bowl for the 2019 NFL season took place on February 2, 2020 in Miami,

Florida and the live stream of the Super Bowl was provided by OverTier and Deltatre as part of

Gill’s subscription to Game Pass Season Pro for the 2019 NFL Season. See Joint Stip., Exs. J, Q,

Doc. Nos. 70-10, 70-17].

            69.      Plaintiff filed the First Amended Class Action Complaint on April 30, 2021. Ex. A.

            70.      Defendants answered the Amended Complaint on December 7, 2021. Ex. B.

Dated: New York, New York
       May 16, 2022

                                                  Respectfully submitted,

                                                  LONDON FISCHER LLP

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